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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


 VENISHA BECKFORD,

       Plaintiff,

 v.                                         Case No. 8:20-cv-02718-T-30SPF
 CLARITY SERVICES, INC.,

       Defendant.


          DECLARATION OF KYLE J. MAURY IN SUPPORT OF
              DEFENDANT CLARITY SERVICES, INC.’S
        MOTION TO DISMISS THE FIRST AMENDED COMPLAINT

      I, Kyle J. Maury, declare:

      1.     I am an attorney duly licensed to practice law in the State of Florida,

I am an associate in the firm of Jones Day, and I am counsel for Defendant Clarity

Services, Inc. (“Clarity”) in the above-captioned matter.         I have personal

knowledge of the matters set forth herein, and if called upon to do so, could and

would testify competently thereto.

      2.     I submit this Declaration in support of Clarity’s Motion to Dismiss the

First Amended Complaint.

      3.     Attached hereto as Exhibit 1 is a true and accurate copy of an excerpt

of Plaintiff’s Clarity consumer disclosure, which Clarity provided to its counsel.

The document has been redacted to remove personal identifying information and
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information not relevant to this litigation.

      4.     I declare under the penalty of perjury that the foregoing is true and

correct, and that this Declaration was executed this 28th day of May, 2021 in

Miami, Florida.

                                           /s/ Kyle J. Maury               –
                                           Kyle J. Maury
                                           Florida Bar No. 1021684
                                           JONES DAY
                                           600 Brickell Avenue, Suite 3300
                                           Miami, FL 33131
                                           Telephone: (305) 714-9700
                                           Facsimile: (305) 714-9799
                                           Email: kmaury@jonesday.com

                                           Attorney for Defendant
                                           Clarity Services, Inc.




                                         -2-
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                           Exhibit 1
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Clarity Report for BECKFORD, VENISHA
1/26/2021


Consumer
Name
BECKFORD, VENISHA

Address




Reference Number




Notices

Enclosed is a copy of your Clarity Credit Report and/or Clarity Credit Score, a "Summary of Your Rights Under the Fair
Credit Reporting Act", and any applicable state rights for you. Below you can find links to help you read and understand
this document.



If you wish to dispute information contained in your report, please call us to explain your dispute. You may also provide
additional documentation to support your dispute, but it is not required. If you requested your Clarity Credit Report, but
not your Clarity Credit Score, you may request and obtain a Clarity Credit Score.



OFAC score and flag values are derived from information maintained by the Office of Foreign Assets Control, a division of
the U.S. Department of Treasury. Social Security Pre-Randomization and Deceased values are derived from information
maintained by the Social Security Administration.



The latest information on how to read your Clarity consumer file disclosure can be found at:

https://consumersupport.clarityservices.com/how_to_read_report


The latest information on how to read your Clarity Credit Score can be found at:

https://consumersupport.clarityservices.com/how_to_read_score




Disclaimer: This consumer report may contain personally identifiable information, and may be used only in accordance with all regulatory guidelines.
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Date/Time/Tracking #                    Purpose              Type                      Company

11/23/2020 12:29:34 pm EST ccewe9sfhx   Credit Application   Online Installment Loan   Big Picture Loans

11/23/2020 12:25:36 pm EST t7rbb843qr   Credit Application   Online Installment Loan   Big Picture Loans

11/21/2020 5:42:09 pm EST q4b7twt74z    Credit Application   Online Installment Loan   Credit Cube

11/12/2020 1:46:44 pm EST gd88z9zg5r    Credit Application   Online Installment Loan   Verge Credit/Stride Bank

11/12/2020 1:46:41 pm EST v9psv09e9k    Credit Application   Online Installment Loan   Verge Credit/Stride Bank

11/12/2020 1:46:40 pm EST nfpr833rnr    Credit Application   Online Installment Loan   Verge Credit/Stride Bank

11/12/2020 1:46:29 pm EST qjz39pezrw    Credit Application   Online Installment Loan   Verge Credit/Stride Bank

11/12/2020 1:41:07 pm EST 6d4px3j4f1    Credit Application   Online Installment Loan   Upfront Proc/Choice Cap

11/12/2020 1:40:07 pm EST gjgzpfk6tn    Credit Application   Online Payday Loan        TMG/American Web Loan

11/12/2020 1:40:06 pm EST rgtkb7v12d    Credit Application   Online Payday Loan        TMG/American Web Loan

11/12/2020 1:31:48 pm EST dv13gqmaph    Credit Application   Online Line of Credit     CBW / CreditFresh

11/10/2020 7:48:03 am EST 1pxgqxq3z4    Credit Application   Online Installment Loan   Credit Cube

11/10/2020 7:47:59 am EST 3q6jhzxt8m    Credit Application   Online Installment Loan   FinWise Bank/OppLoans

11/10/2020 7:47:59 am EST qr13dyy6j2    Credit Application   Online Line of Credit     CBW / CreditFresh

11/10/2020 7:46:50 am EST teaw6jfbrg    Credit Application   Online Installment Loan   Arrowhead Advance

11/10/2020 7:46:39 am EST rhv8kmabbp    Credit Application   Online Installment Loan   Explore Credit/Hive Financial Systems

11/10/2020 7:45:59 am EST m65cdx4w4y    Credit Application   Online Installment Loan   Credit Ninja/FMS

9/3/2020 9:46:14 am EDT c8hwg9rf1p      Credit Application   Online Payday Loan        TMG/American Web Loan

5/19/2020 2:32:48 pm EDT s6bwdpf5xd     Rent-to-Own          Storefront Rent-to-Own    SmartPay Lease

5/19/2020 2:31:51 pm EDT xjftjkdprv     Rent-to-Own          Storefront Rent-to-Own    SmartPay Lease

4/10/2020 12:02:23 pm EDT na8zmz0ryb    Rent-to-Own          Online Rent-to-Own        Snap Finance

1/14/2020 10:56:07 am EST vjattb005t    Rent-to-Own          Online Rent-to-Own        FinWise/AmerFirstFin

12/18/2019 10:28:43 am EST 52thj42hq3   Credit Application   Online Installment Loan   Radiant Cash

12/18/2019 10:24:53 am EST k6213nsyxj   Credit Application   Online Installment Loan   Loan At Last

12/18/2019 10:24:28 am EST y7arnvw7kq   Credit Application   Online Installment Loan   Loan At Last

12/6/2019 9:41:54 am EST czg4fww3ae     Credit Application   Online Installment Loan   Loan At Last

12/5/2019 2:32:51 pm EST ey5zeakkwy     Credit Application   Online Installment Loan   Loan At Last

12/5/2019 2:02:17 pm EST rzngpg9x4e     Credit Application   Online Installment Loan   Radiant Cash

12/5/2019 2:01:08 pm EST gztr3nm3y4     Credit Application   Online Installment Loan   Radiant Cash

12/5/2019 2:00:54 pm EST h4x9emymm2     Credit Application   Online Installment Loan   Loan At Last

12/5/2019 2:00:42 pm EST z7xpj2egk8     Credit Application   Online Installment Loan   Green Trust Cash

12/4/2019 1:25:25 pm EST kqcxq100a0     Credit Application   Online Installment Loan   Radiant Cash

12/4/2019 1:24:48 pm EST w7e3gedabf     Credit Application   Online Installment Loan   UbiCash

12/4/2019 1:18:01 pm EST e6acdhgbnh     Credit Application   Online Installment Loan   ZestSvcs/BlueChip



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Date/Time/Tracking #                   Purpose              Type                      Company

12/4/2019 1:17:52 pm EST tfb00p5gvf    Credit Application   Online Installment Loan   ZestSvcs/BlueChip

12/4/2019 1:09:22 pm EST 16zd3z9yyv    Credit Application   Online Installment Loan   Radiant Cash

12/4/2019 1:09:22 pm EST 7j1jtncrwz    Credit Application   Online Installment Loan   Radiant Cash

12/4/2019 10:41:38 am EST wyna4afrwp   Credit Application   Online Installment Loan   Credit Cube

12/4/2019 10:41:12 am EST ts4kn2fv8n   Credit Application   Online Installment Loan   WLCC Lending AIL

12/2/2019 1:23:54 pm EST 8je8fpe9cn    Credit Application   Online Payday Loan        Sky Cash USA

12/2/2019 1:23:31 pm EST 53qmtdrpkh    Credit Application   Online Installment Loan   Green Arrow Solutions

12/2/2019 1:18:48 pm EST 33vkp7cjt9    Credit Application   Online Installment Loan   Lead Bank

12/2/2019 1:18:30 pm EST 0ft52evwvj    Credit Application   Online Payday Loan        TMG/American Web Loan

12/2/2019 1:18:27 pm EST 2mefecd44c    Credit Application   Online Payday Loan        TMG/American Web Loan

12/2/2019 1:12:02 pm EST 1mpt1e851k    Credit Application   Online Installment Loan   Loan At Last

12/2/2019 1:10:35 pm EST pfrwbx39cc    Credit Application   Online Installment Loan   Bright Lending

12/2/2019 1:10:15 pm EST hp6ewwjfyh    Credit Application   Online Installment Loan   Ripple Cash

12/2/2019 1:10:07 pm EST ec1bc55yq6    Credit Application   Online Installment Loan   National Small Loan

12/2/2019 1:10:06 pm EST vm0wgtz7j6    Credit Application   Online Installment Loan   National Small Loan

12/2/2019 1:09:48 pm EST fgxeekpqzw    Credit Application   Online Installment Loan   Loan At Last

9/29/2019 12:18:42 pm EDT 8q3m3s6w3v   Credit Application   Online Payday Loan        TMG/American Web Loan

9/29/2019 12:18:40 pm EDT 09p1fj010v   Credit Application   Online Payday Loan        TMG/American Web Loan

9/19/2019 12:00:24 pm EDT 26fjr6yzt4   Credit Application   Online Installment Loan   605Lend

9/19/2019 11:47:05 am EDT x0r52rs4mg   Credit Application   Online Installment Loan   Ready Set Go Finance

9/19/2019 11:46:59 am EDT msj97rmnbt   Credit Application   Online Payday Loan        Sky Cash USA

9/19/2019 11:46:57 am EDT tdjd4jq92g   Credit Application   Online Installment Loan   FinWise Bank/OppLoans

9/19/2019 11:42:30 am EDT t8p477hfxx   Credit Application   Online Installment Loan   Radiant Cash

9/19/2019 11:42:28 am EDT hwjms93zjg   Credit Application   Online Installment Loan   Radiant Cash

9/19/2019 11:42:28 am EDT wvry199xq8   Credit Application   Online Installment Loan   Radiant Cash

9/19/2019 11:42:18 am EDT 2p3ahpw262   Credit Application   Online Installment Loan   Credit Cube

9/19/2019 11:41:46 am EDT wmd1zazv8p   Credit Application   Online Installment Loan   Netcashman

9/19/2019 11:41:23 am EDT sg8kmdjft8   Credit Application   Online Installment Loan   Green Arrow Solutions

9/19/2019 11:40:49 am EDT cq7b954q20   Credit Application   Online Installment Loan   Lakeshore Loans

9/19/2019 10:15:15 am EDT anrybvczr5   Credit Application   Online Installment Loan   Green Trust Cash

9/19/2019 10:13:57 am EDT 4dxz081zys   Credit Application   Online Installment Loan   Ripple Cash

9/19/2019 10:13:55 am EDT 7s7dmjbhr3   Credit Application   Online Installment Loan   Ripple Cash

9/19/2019 7:35:47 am EDT 93p0aj12n0    Credit Application   Online Installment Loan   Netcashman

9/19/2019 7:35:14 am EDT 5kwmq07hv3    Credit Application   Online Installment Loan   Vivus Srv/Lendgreen



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Date/Time/Tracking #                   Purpose              Type                      Company

9/19/2019 7:35:08 am EDT v4h6evp8f3    Credit Application   Online Installment Loan   Vivus Srv/North Star

9/10/2019 2:54:56 pm EDT xvbfs5jbpe    Credit Application   Online Installment Loan   Bright Lending

9/10/2019 2:54:40 pm EDT kzh56ck8cb    Credit Application   Online Installment Loan   Lead Bank

9/10/2019 2:54:36 pm EDT et1fmxfk9n    Credit Application   Online Line of Credit     CBW / CreditFresh

9/10/2019 2:53:36 pm EDT fmt68tmcas    Credit Application   Online Installment Loan   Loan At Last

9/10/2019 2:53:32 pm EDT nkzej1bnvv    Credit Application   Online Installment Loan   National Small Loan

9/10/2019 2:53:31 pm EDT zc8bg7h0b3    Credit Application   Online Installment Loan   National Small Loan

8/30/2019 4:51:37 pm EDT 6069xgy22a    Rent-to-Own          Storefront Rent-to-Own    Acima Credit

8/30/2019 4:51:37 pm EDT 8jfnhrtw5v    Rent-to-Own          Storefront Rent-to-Own    Acima Credit

8/30/2019 4:51:37 pm EDT 80qgh4002f    Rent-to-Own          Storefront Rent-to-Own    Acima Credit

8/30/2019 4:51:37 pm EDT jp84kzqsgn    Rent-to-Own          Storefront Rent-to-Own    Acima Credit

8/30/2019 4:51:37 pm EDT fy3kvq3as6    Rent-to-Own          Storefront Rent-to-Own    Acima Credit

8/30/2019 4:51:37 pm EDT dk4n20rcks    Rent-to-Own          Storefront Rent-to-Own    Acima Credit

4/29/2019 2:16:06 pm EDT 2n3pj0mfwq    Credit Application   Online Installment Loan   Cash Aisle

4/24/2019 10:26:08 am EDT 3z7gwq170p   Credit Application   Online Installment Loan   Bright Lending

4/24/2019 10:26:00 am EDT qr27dz6pq7   Credit Application   Online Installment Loan   Vivus Srv/North Star

4/24/2019 10:25:51 am EDT z6b4br3w99   Credit Application   Online Installment Loan   National Small Loan

4/24/2019 10:25:47 am EDT zv5rms3ped   Credit Application   Online Installment Loan   Axis Advance

4/24/2019 10:25:41 am EDT xkzmc5ddgg   Credit Application   Online Installment Loan   Vivus Srv/Lendgreen

4/24/2019 10:25:31 am EDT 5z4kbtmemf   Credit Application   Online Installment Loan   Loan At Last

4/24/2019 10:25:27 am EDT vp79smm7tc   Credit Application   Online Payday Loan        Rushmore

4/24/2019 10:24:56 am EDT bbptrpsyd0   Credit Application   Online Installment Loan   Lead Bank

4/24/2019 10:20:18 am EDT kx0yebf4r5   Credit Application   Online Installment Loan   Green Arrow Solutions

4/24/2019 10:20:13 am EDT a2n29ahv2m   Credit Application   Online Installment Loan   Quick Help Loans

4/12/2019 9:55:02 am EDT 7efh3jxawb    Credit Application   Online Installment Loan   Green Trust Cash

4/12/2019 9:54:40 am EDT fv5d8m1haj    Credit Application   Online Installment Loan   RBC/Riverbend

1/8/2019 12:53:36 pm EST 7z241qmr2z    Credit Application   Online Installment Loan   Loan At Last

1/8/2019 12:53:27 pm EST a3stwkcfpj    Credit Application   Online Installment Loan   Sky Trail Cash

1/8/2019 12:53:15 pm EST etax5wfe83    Credit Application   Online Installment Loan   ZocaLoans

12/21/2018 9:54:23 am EST 500bv4nc2x   Credit Application   Online Installment Loan   National Small Loan

12/21/2018 9:54:22 am EST rvb02e9sbk   Credit Application   Online Installment Loan   National Small Loan

12/21/2018 9:54:18 am EST rnc3wjcmth   Credit Application   Online Installment Loan   Sky Trail Cash

12/21/2018 9:54:14 am EST 9vfdbvhpn9   Credit Application   Online Installment Loan   Bright Lending

12/21/2018 9:54:09 am EST hv40b3vj8w   Credit Application   Online Installment Loan   Loan At Last



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 Date/Time/Tracking #                      Purpose                Type                             Company

 7/2/2018 6:58:31 pm EDT ggf6yg03x0        Credit Application     Online Line of Credit            TCDS/MobiLoans

 1/17/2018 8:55:05 am EST 034b3p4z0a       Rent-to-Own            Online Rent-to-Own               Prog Leasing

 12/6/2017 11:24:05 am EST 0k9k8yfzfn      Credit Application     Online Installment Loan          NetCredit/Republc Bank




Inquiries not seen by others

The ‘Tracking #’ located after ‘Date’ and ‘Time’ allows you to associate the data that originated from the same inquiry.
For example, when the ‘Tracking #’ is the same for your name, date of birth and driver’s license/state, then all those
data elements came from the same inquiry.



 Date/Time/Tracking #                                Purpose                              Company

 1/25/2021 10:56:34 am EST 60y3kxpgp9                Account Review                       Verge Credit/Stride Bank - Monitoring

 1/22/2021 5:17:42 pm EST ev57wgry6m                 Account Review                       Verge Credit/Stride Bank - Monitoring

 1/22/2021 4:37:05 pm EST 2z5wwdqkes                 Account Review                       Verge Credit/Stride Bank - Monitoring

 1/20/2021 3:29:05 am EST 4zwp6h28bn                 Account Review                       Verge Credit/Stride Bank - Monitoring

 1/20/2021 3:24:53 am EST 1qffg5pa18                 Account Review                       Verge Credit/Stride Bank - Monitoring

 1/4/2021 7:00:00 pm EST gyfhy0e9d1                  Pre-screen                           FstElecBnk/Personify

 1/11/2021 11:49:45 am EST q1ceprnrza                Account Review                       Verge Credit/Stride Bank - Monitoring

 1/4/2021 11:12:52 am EST 3qtrfzgqa4                 Account Review                       Verge Credit/Stride Bank - Monitoring

 12/28/2020 11:53:53 am EST b7n327bx7v               Account Review                       Verge Credit/Stride Bank - Monitoring

 12/21/2020 10:40:17 am EST 0kw136y70b               Account Review                       Verge Credit/Stride Bank - Monitoring

 12/14/2020 12:20:48 pm EST v7xwy1y1n2               Account Review                       Verge Credit/Stride Bank - Monitoring

 12/7/2020 12:47:48 pm EST s9c3ryg2nj                Account Review                       Verge Credit/Stride Bank - Monitoring

 11/30/2020 10:28:39 am EST m54wey9hg5               Account Review                       Verge Credit/Stride Bank - Monitoring

 11/23/2020 10:41:02 am EST sv3ezsxh43               Account Review                       Verge Credit/Stride Bank - Monitoring

 11/16/2020 10:45:37 am EST 83cpxbk90z               Account Review                       Verge Credit/Stride Bank - Monitoring

 11/1/2020 7:00:00 pm EST z3ac5r4yk9                 Pre-screen                           FstElecBnk/Personify

 10/13/2020 8:00:00 pm EDT stgjyydczz                Pre-screen                           FstElecBnk/Personify

 7/1/2020 11:02:22 am EDT f0h9rfjbpz                 Account Review                       OneMain Financial CEPR

 6/24/2020 8:54:57 pm EDT t7qn17my78                 Account Review                       OneMain Financial CEPR




Validation

 Social Security Pre-Randomization Valid                                      OFAC Score



                                                                                                                                  Page 21 of 31
